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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  KATE GRANT and KARMANN KASTEN,
  LLC,                                                  THIRD AMENDED SCHEDULING
                                                                 ORDER
                  Plaintiffs,

  vs.

  KEVIN LONG; MILLCREEK                                Case No: 2:23-cv-00936-AMA-CMR
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                              Judge Ann Marie McIff Allen
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,                             Magistrate Judge Cecilia M. Romero
                 Defendants.


        Having reviewed the parties’ Stipulated Motion for Amended Scheduling Order (Motion)

 (ECF 105), and for good cause appearing, the court hereby GRANTS the Motion and amends the

 Second Amended Scheduling Order (ECF 93) as follows. The times and deadlines set forth herein

 may not be modified without the approval of the court and on a showing of good cause pursuant

 to Fed. R. Civ. P. 6.


            •   Close of fact discovery: May 13, 2025;

            •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – party(ies)

                bearing burden of proof: May 27, 2025;

            •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – counter

                disclosures: June 17, 2025;

            •   Rule 26-(a)(2) expert reports – party(ies) bearing burden of proof: June 24, 2025;

            •   Rule 26-(a)(2) expert reports – counter reports: July 23, 2025;

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          •   Last day for expert discovery: August 27, 2025;

          •   Deadline for filing dispositive or potentially dispositive motions: September 12,

              2025;

          •   Evaluate case for settlement/ADR: May 13, 2025.

          •   Deadline for filing a request for a scheduling conference with the district judge for

              the purpose of setting a trial date if no dispositive motions are filed: September 19,

              2025; and

          •   If dispositive motions are filed and the district judge’s ruling on those motions does

              not resolve the case, the parties shall file a request for a scheduling conference with

              the district judge for the purpose of setting a trial date no later than one week after

              the ruling on the dispositive motions.




       DATED this 21 February 2025.




                                             Magistrate Judge Cecilia M. Romero
                                             United States District Court for the District of Utah




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